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 4
                          UNITED STATES DISTRICT COURT
 5
                               DISTRICT OF NEVADA
 6

 7   UNITED STATES OF AMERICA,                Case No. 3:12-cr-00015-HDM-WGC
 8                           Plaintiff,
          v.                                  ORDER
 9
     CAMERON MUHLENBERG,
10
                             Defendant.
11

12        On June 29, 2018, the court denied the defendant’s motion to

13   vacate pursuant to 28 U.S.C. § 2255. (ECF No. 144). The court

14   denied the motion on the merits and denied a certificate of

15   appealability. The Ninth Circuit also denied a certificate of

16   appealability. (ECF No. 159).

17        While   the    defendant’s    request       for   a   certificate   of

18   appealability was pending before the Ninth Circuit, he filed with

19   this court a “renewed” motion to vacate pursuant to 28 U.S.C. §

20   2255, seeking to preserve the filing deadline in the event the

21   government or any court found his prior § 2255 motion to be

22   untimely. (ECF No. 158).

23        The defendant’s § 2255 motion was disposed of by this court

24   on the merits and the Ninth Circuit declined to issue a certificate

25   of appealability with respect to the court’s ruling.              There is

26   therefore no basis for consideration of the defendant’s “renewed”

27   § 2255 motion.     Accordingly, the renewed motion for § 2255 relief

28   (ECF No. 158) is hereby DENIED.


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 1        The   associated     civil    case,    3:20-cv-00387-HDM,   shall

 2   accordingly be CLOSED.

 3        IT IS SO ORDERED.

 4        DATED: This 11th day of January, 2021.
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                                       UNITED STATES DISTRICT JUDGE
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